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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

VS                                           Case No.       4:19-cr-00528JM

RAMIEN D COLLINS

                                  NOTICE OF APPEAL

       Notice is hereby given that Ramien D. Collins appeals to the United States Court
of Appeals for the Eighth Circuit from the Judgment & Commitment entered on
September 28, 2022.

                                             Respectfully Submitted,

                                             Jimmy C. Morris, Jr
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                              CERTIFICATE OF SERVICE

        I, hereby certify that on this 12th day of October 2022, I electronically filed the
foregoing with the Clerk of the Court using CM/ECF system, which shall send notification
of such filing to all counsel of record.


                                             Jimmy C. Morris, Jr
                                             Jimmy C. Morris, Jr
